                       Case 2:13-cr-00090-MHT-WC Document 319 Filed 11/21/13 Page 1 of 5
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1              6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                           MIDDLE DISTRICT OF ALABAMA

               81,7('67$7(62)$0(5,&$                                              JUDGMENT IN A CRIMINAL CASE
                                    v.                                               (WO)

                     PHILANTHIA ROBERTS                                              &DVH1XPEHU 2:13cr90-11-MHT
                                                                                     8601XPEHU 14511-002

                                                                                      Roianne Houlton Conner
                                                                                     'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        17 of the Indictment on July 26, 2013
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                                        Offense Ended                           Count

 18 USC 1341                         Mail Fraud                                                                                 11/30/2009                            17




     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 5             RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                1, 18-19, 33 of the Indictment              G LV   ✔DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                    G
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                          November 14, 2013
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW



                                                                           /s/Myron H. Thompson
                                                                          Signature of Judge


                                                                          MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                           1DPHRI-XGJH7LWOHRI-XGJH


                                                                          November 21, 2013
                                                                           'DWH
                         Case 2:13-cr-00090-MHT-WC Document 319 Filed 11/21/13 Page 2 of 5
AO 245B          (Rev. 09/11) Judgment in a Criminal Case
v1             6KHHW²3UREDWLRQ

                                                                                                                       Judgment Page: 2 of 5
 '()(1'$17 PHILANTHIA ROBERTS
 &$6(180%(5 2:13cr90-11-MHT
                                                                   PROBATION
 7KHGHIHQGDQWLVKHUHE\VHQWHQFHGWRSUREDWLRQIRUDWHUPRI

     4 Years (48 Months)




 7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
                                                                      
 7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
 VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRISODFHPHQWRQSUREDWLRQDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
 WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
          IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
 ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
 G
 ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
 G
 G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq
          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
          ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)
 G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRISUREDWLRQWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH6FKHGXOHRI
 3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKD
                                                                        YHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
 RQWKHDWWDFKHGSDJH

                                            STANDARD CONDITIONS OF SUPERVISION
           WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
           WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
            DFFHSWDEOHUHDVRQV
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
           WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\FRQWUROOHG
            VXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
           WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
           WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
            IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
            FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
          WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPQWDJHQF\ZLWKRX WWKH
            SHUPLVVLRQRIWKHFRXUWDQG
          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
            UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWR PDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
            GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
                      Case 2:13-cr-00090-MHT-WC Document 319 Filed 11/21/13 Page 3 of 5
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
v1            6KHHW&²3UREDWLRQ

                                                                                                       Judgment Page: 3 of 5
 '()(1'$17 PHILANTHIA ROBERTS
 &$6(180%(5 2:13cr90-11-MHT

                                            SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall provide the probation officer any requested financial information.

     2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     3. The defendant shall complete 75 hours community service at at time and location approved by the United States
     Probation Office.
                      Case 2:13-cr-00090-MHT-WC Document 319 Filed 11/21/13 Page 4 of 5
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV

                                                                                                                   Judgment Page: 4 of 5
 '()(1'$17 PHILANTHIA ROBERTS
 &$6(180%(5 2:13cr90-11-MHT
                                                  CRIMINAL MONETARY PENALTIES
        7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                         Assessment                                         Fine                                    Restitution
 TOTALS              $ 100.00                                           $                                     $ $5,242.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgment in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
       DIWHUVXFKGHWHUPLQDWLRQ

 ✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
 G
       ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
       WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
       EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                      Total Loss*                Restitution Ordered           Priority or Percentage
     United States Department of Education - OCFO                                                             $5,242.00
     FMO-Bank Change and Receivables Group
     550 12th Street, SW, RM 6114

     Washington, D.C. 20202-4461




                                                                               




TOTALS                                                                                 $0.00                   $5,242.00


G       5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G       7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
        ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
        WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G       7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

        G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH           G ILQH       G UHVWLWXWLRQ
        G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRU
                                                                                                                 RIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
                      Case 2:13-cr-00090-MHT-WC Document 319 Filed 11/21/13 Page 5 of 5
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
v1          6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                                             Judgment Page: 5 of 5
 '()(1'$17 PHILANTHIA ROBERTS
 &$6(180%(5 2:13cr90-11-MHT

                                                         SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

 A    ✔ /XPSVXPSD\PHQWRI 5,342.00
      G                                                          GXHLPPHGLDWHO\EDODQFHGXH

           G QRWODWHUWKDQ                                           RU
           ✔ LQDFFRUGDQFH
           G                              G &       G '        G      (RU     ✔ )EHORZRU
                                                                                  G
 B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &       G 'RU       G )EHORZ RU
 C    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

 E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at
            a rate of not less than $50 per month.



 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
 LPSULVRQPHQW$OOFULPQDOP RQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQF LDO
 5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 ✔ -RLQWDQG6HYHUDO
 G
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
       Philanthia Roberts 2:13cr90-11-MHT - $5,242.00 total amount, $5,242.00 joint and several amount - U.S. Dept. of
       Education
       Shawn Johnson 2:13cr90-01-MHT - $5,242.00 total amount, $5,242.00 joint and several amount - U.S. Dept. of
       Education
 G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
 G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
 ✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
 G
       $5,242.00 forfeiture money judgment



 3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
   ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
